Entered: May 15th, 2019
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Signed: May 14th, 2019

SO ORDERED




                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MARYLAND
                                             GREENBELT DIVISION

         IN RE:                                                 BCN#: 19-13015
         MARVIN LEWIS AND CAROLE LEWIS
                Debtors                                         Chapter: 7

         NEW RESIDENTIAL MORTGAGE LOAN
         TRUST 2017-3
         and its assignees and/or                               CONSENT ORDER RESOLVING
         successors in interest,                                MOTION FOR RELIEF
                 Movant,                                        FROM STAY
         v.
         CAROLE CHRISTINE LEWIS
         AND
         MARVIN FULLER LEWIS
                 Debtors
         and
         LAURA J. MARGULIES
                 Trustee
                 Respondents

                   This matter came on to be heard upon consideration of the Motion of New Residential

         Mortgage Loan Trust 2017-3 for Relief from Automatic Stay of 11 USC 362 (a) as to certain real

         property at 5525 Little Brook Drive, La Plata, MD 20646; and

                   It appearing that the parties consent to the entry of this Order;

                        The automatic stay shall be deemed lifted if the Debtor is not able to sell the
         property within one hundred and twenty days (120) from entry of this order.


                IT IS FURTHER ORDERED that upon sale of the above-mentioned property, the
         Secured Creditor may take all lawful actions in accordance with state law, to take possession of
         the property and shall, pursuant to Local Bankruptcy Rule 4001-3, provide a copy of the Report
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of Sale and Audits Reports to the Bankruptcy Trustee if there is a surplus over and above the
debt owed to the foreclosing noteholder.



I ask for this:

____/s/ Malcolm B. Savage, III _________
William M. Savage, Esquire
Federal I.D. Bar No. 06335
Kristine D. Brown, Esquire
Federal I.D. Bar No. 14961
Thomas J. Gartner, Esquire
Federal I.D. Bar No. 18808
Gregory N. Britto, Esquire
Federal I.D. Bar No. 22531
Renee Dyson, Esquire
Federal I.D. Bar No. 15955
Malcolm B. Savage, III, Esquire
Federal I.D. Bar No. 20300
Nicole Lipinski, Esquire
Federal I.D. Bar No. 19283
Counsel for Movant
ecf@logs.com

Seen; Agreed:

/s/ Laura J. Margulies (with expressed permission)
____________________________________________
Laura J. Margulies, Trustee


       I HEREBY CERTIFY that the terms of the copy of the consent order submitted to the
Court are identical to those set forth in the original consent order; and the signatures
represented by the /s/_ Malcolm B. Savage, III _ on the copy of the consent order submitted to
the Court reference the signatures of consenting parties obtained on the original consent order.

___/s/ Malcolm B. Savage, III _____
William M. Savage, Esquire
Kristine D. Brown, Esquire
Thomas J. Gartner, Esquire
Gregory N. Britto, Esquire
Renee Dyson, Esquire
Malcolm B. Savage, III, Esquire
Nicole Lipinski, Esquire
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                          Copies of this order are to be sent to:


CAROLE CHRISTINE LEWIS
5525 LITTLE BROOK DRIVE
LA PLATA, MD 20646

MARVIN FULLER LEWIS
5525 LITTLE BROOK DRIVE
LA PLATA, MD 20646

LAURA J. MARGULIES
6205 EXECUTIVE BLVD.
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WALDORF, MD 20601

SHAPIRO & BROWN, LLP
10021 BALLS FORD ROAD, SUITE 200
MANASSAS, VIRGINIA 20109



18-275734




                                    END OF ORDER
